            Case 1:20-sw-00622-STV Document 1 Filed 05/19/20 USDC Colorado Page 1 of 9
AO 106 (Rev. 04/10) Application for a Search Warrant


                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                            District of Colorado

  In the Matter of the Search of 6656 Julian Street,              )
  Denver, Colorado, 80221, and to include all out-                )      Case No. 20-sw-00622-STV
  buildings and vehicles located thereon.                         )
                                                                  )
                                                                  )

                                             APPLICATION FOR A SEARCH WARRANT

 I, Special Agent Larry Bazin, a federal law enforcement officer for the government, request a search warrant and state
 under penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe
 the property to be searched and give its location):SEE “ATTACHMENT A”, which is attached to and incorporated in this
 Application and Affidavit

 located in the            State and          District of   Colorado      , there is now concealed (identify the person or describe the
 property to be seized):

 SEE “ATTACHMENT B”, which is attached to and incorporated in this Application and Affidavit

           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                       a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
                            Code Section                                            Offense Description
                      18 U.S.C. § 922(g)(1)                       Felon in Possession of a Firearm or Ammunition
                      18 U.S.C. § 922(j)                          Possession of a Stolen Firearm
                      18 U.S. C. § 924(m)                         Theft of a Firearm from a Licensed Dealer
           The application is based on these facts:
           X Continued on the attached affidavit, which is incorporated by reference.
               Delayed notice of      days (give exact ending date if more than 30 days:                                    ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                       /s/
                                                                                                      Applicant’s signature

                                                                                                     Larry Bazin, Special Agent
                                                                                                      Printed name and title
 Sworn to before me and:                signed in my presence.
                                        submitted, attested to, and acknowledged by reliable electronic means.

 Date:        5/19/2020
                                                                                                      Judge’s signature

 City and state:       Denver, CO                                             Scott T. Varholak, U.S. Magistrate Judge
                                                                                                   Printed name and title
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                                      ATTACHMENT A
                      DESCRIPTION OF ITEM TO BE SEARCHED
                Residence located at 6656 Julian Street, Denver, Colorado, 80221


The residence, all electronic devices located inside the residence and/or curtilage, all vehicles in
or on the curtilage of 6656 Julian Street can further be described as being the sixth structure located
on the east side of Julian Street, South of the intersection of W. 66th Ave and Julian Street. The
residence is a single story home, with what appears to be white siding. The roof appears to have
grey or light colored shingles. The residence also has two medium size windows to the right of the
front door.

                                      See attached photograph.




                                        ATTACHMENT B

               DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

Any and all evidence, fruits, and instrumentalities of the following violation: possession of a firearm
and/or ammunition by a prohibited person, in violation of 18 U.S.C. § 922(g)(1). Specifically, not
but not limited to the following:

1. Firearms, firearms accessories and their component parts, ammunition, and documents related to
   the purchase or transfer of firearms or ammunition;

2. Photographs showing firearms or people in possession of firearms and/or ammunition;

3. Safe deposit box keys, storage keys, or records pertaining to safe deposit boxes or storage units
   or areas where firearms and/or ammunition may be located;

4. Indicia of ownership or occupancy of the searched property and items seized;

5. Cellular phones or other digital devices capable of messaging or accessing social media. Should
   such evidence be seized, it will not be searched. Supplemental warrants will be requested prior
   to searching the content of such items; and,

6. Contextual information necessary to understand the evidence described in this attachment.
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                               ATTACHMENT B
               DESCRIPTION OF ITEM TO BE SEIZED AND SEARCHED
                             ITEMS TO BE SEIZED

Any and all evidence, fruits, and instrumentalities of the following offenses: Felon in Possession
of a Firearm in violation of 18 U.S.C. § 922(g)(1), Possession of a Stolen Firearm in violation of
18 U.S.C. § 922(j), and Theft of a Firearm from a Licensed Dealer in violation of 18 U.S.C.
§ 924(m), and attempts and/or conspiracy to commit those offenses, including;

   1. Firearms, firearm parts, and ammunition.

   2. Evidence of firearm or ammunition possession, including holsters, gun safes,
      carrying cases, receipts from shooting ranges, cleaning kits, and receipts,
      documents, or records related to the sale or purchase of any firearms or
      ammunitions.

   3. Any U.S. currency and financial proceeds from dealing in illegal firearms.

   4. Records that establish the person who has control possession, custody or dominion over
      the property, to include mail, bills, keys, rent receipts, leases, mortgage documents, and
      correspondence with or documents issued by government agencies.

   5. Evidence or indicia of ownership or control over any items seized pursuant to this warrant,
      to include identification documents or personal items in close proximity to firearms,
      ammunition, and cellular phones.

   6. Financial and bank records, money orders and cashier’s checks, safe deposit box keys,
      safes, computer systems and information contained on computer disks and other items
      evidencing the possession, transfer, and/or concealment of assets or expenditures of
      money.

   7. Communications in any format, written or electronic, about obtaining, stealing, possessing,
      transporting, selling and/or distributing firearms.

   8. Photographs, in any format, printed or electronic, and videos showing firearms or
      ammunition or people in possession of firearms or ammunition.

   9. Contact information, ledgers, notes in any format, electronic or written, related to the
      source of firearms or theft of firearms or tending to establish the possession of firearms or
      transfer of firearms or affiliation with other co-conspirators.

   10. Cellular phones or other digital devices capable of messaging or accessing social media.
       Should such evidence be seized, it will not be searched. Supplemental search warrants will
       be requested prior to searching the content of such items; and,

   11. Articles of clothing consistent with those being worn by the suspects in the April 28, 2020
       burglary of Eagles Nest Armory.
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               AFFIDAVIT IN SUPPORT OF SEARCH WARRANT


I, Larry A. Bazin, being first duly sworn, hereby depose and state as follows:

    1. This affidavit is submitted in support of an Application for a Federal Search Warrant to
       search the following locations:

               TARGET LOCATION: Residence located at 6656 Julian Street, Denver,
               Colorado, 80221;

               TARGET VEHICLE: A white Chevy box truck bearing Colorado license plate
               BNV333.


    2. Your Affiant, Larry A. Bazin, is a Special Agent (SA) with the Bureau of Alcohol,
       Tobacco, Firearms and Explosives (ATF), United States Department of Justice, Denver,
       Colorado. Your Affiant is an investigator or law enforcement officer of the United
       States, within the meaning of Title 18, United States Code, Section 2510(7) that is an
       officer of the United States empowered by law to conduct investigations of, and to make
       arrests for, offenses enumerated by statute in the United States Code, and the Colorado
       Statutory Code. Your Affiant is authorized under the Federal Rules of Criminal
       Procedure, Rule 41(a)(1)(C) as a Federal law enforcement officer who is engaged in
       enforcing the criminal laws, and is within any category of officers authorized by the
       Attorney General to request a search warrant.

    3. Your Affiant has been employed as a Special Agent with ATF since March 2016. Your
       Affiant’s primary duties consist of the enforcement of federal firearms laws, armed
       narcotics trafficking, and conspiracy laws. Prior to becoming an ATF SA, your Affiant
       was employed with the Georgia Bureau of Investigation (GBI) as a Special Agent (SA)
       for approximately four and a half years. During your Affiant’s employment with the
       GBI, your Affiant was charged with the duty of enforcing the criminal laws of the state
       of Georgia. Your Affiant was case agent and participated in criminal investigations
       involving serious violent crimes including Homicide, Rape, Aggravated Assault,
       Narcotics Trafficking, Firearm Violations and Prohibited Persons in Possession of
       Firearms. While employed as a GBI SA, your Affiant conducted numerous investigations
       that have led to the seizure of evidence through the utilization of court sanctioned
       searches.

    4. The statements set forth in this affidavit are based upon my personal observations, my
       training and experience, and information obtained from other experienced federal agents
       and local law enforcement. Since this affidavit is being submitted for the limited purpose
       of securing a search warrant, your Affiant has not included all of the facts known
       concerning this investigation.

    5. Your Affiant has set forth only the facts necessary to establish probable cause to believe
       evidence of Felon in Possession of a Firearm in violation of 18 U.S.C. § 922(g)(1),
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      Possession of a Stolen Firearm in violation of 18 U.S.C. § 922(j), and Theft of a Firearm
      from a Licensed Dealer in violation of 18 U.S. C. § 924(m), and attempts and/or
      conspiracy to commit those offenses), are located at 6656 Julian Street, Denver, Colorado,
      80221, hereinafter referred to as the TARGET LOCATION and further described in
      Attachment A.
                                    INVESTIGATION

                             Burglary of Eagles Nest Armory

   6. Eagles Nest Armory is located at 12371 W. 64th Ave., Arvada, Colorado, and is a licensed
      firearms dealer.

   7. On Tuesday April 28, 2020, Arvada Police Officers were dispatched to Eagles Nest
      Armory, after the report of a burglary in progress. The caller advised the Arvada Police
      Department (APD) that the gun store located in the strip mall behind his residence was
      being broken into. APD was also advised that the suspects were operating a Sports Utility
      Vehicle (SUV). While APD Officers were in route to the gun store, APD dispatch advised
      the Officers that a verified alarm had been received from the Eagles Nest Armory.

  7. After APD arrived on the scene, Officers learned that unlawful entry had been made to the
     business and the suspects were gone. Thereafter, Eagles Nest Armory owner Mark
     Eagleton arrived on scene and confirmed his store had been broken into. Based upon a
     review of the store records, it was established twenty-one firearms had been stolen,
     including;

            a Colt, Model SP1, .223 Caliber Rifle with serial number: CMH038055;
            a Taurus, Model M82, .38 Caliber Revolver, with serial number: KR234507;
            a Diamond Back, Model DB15, .300 Caliber Rifle, with serial number:
             DB2419687.

  8. Eagleton allowed APD Officers to have access to the store surveillance system, and
     Officers were able to observe video recordings of the burglary. Specifically, on the
     recording, APD Officers were able to see a black Mitsubishi Endeavor SUV, arrive at the
     Eagles Nest Armory at approximately 3:45 a.m.

  9. Four unknown individuals exited the SUV and attempted to access the business through
     front door. After failing to access through front door, the suspects drove the SUV to the
     rear of the business where they were able to force open a door. After gaining entry and
     stealing firearms from inside, the suspects re-entered the SUV left the area at
     approximately 3:49 a.m.

  10. From the surveillance video, Officers were able to observe four suspects. Suspect 1
      appeared to be a white male, wearing a black balaclava, gray hoodie, gray sweat pants and
      white shoes. Suspect 2 appeared to be a black male, wearing a gray hoodie, and black and
      white shoes. Suspect 3 appeared to be a white or Hispanic male, with a black hoodie, blue
      and gray jeans, and brown boats. Suspect 4 appeared to be a white or Hispanic male
      wearing a green hoodie, black hat, black pants and white shoes.
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                        Information Received From Confidential Source

  11. On May 5, 2020, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) Special
      Agent (SA) Larry Mims received information from an ATF Confidential Source (CS). The
      CS was providing law enforcement with information for in return for monetary
      considerations, and had previously worked with law enforcement in return for
      consideration in regards to potential weapons charges he/she was facing. The CS has no
      felony convictions, nor any misdemeanor convictions pertaining to his/her truthfulness.
      The CS had provided law enforcement with information relating to criminal investigations
      previously, and Agents found him/her to be a reliable source. Much of the information
      provided by the CS has been corroborated by other evidence, and none has proven false.

  12. Specifically, the CS informed SA Mims that an individual by the name of NORBERTO
      VALDEZ-ESQUIVEL contacted him/her and stated that he was trying to sell two stolen
      firearms for an associate. NORBERTO informed CS that he did not steal the firearms but
      he knew the individual who did, and that he would hold the firearms for CS to purchase.
      NORBERTO sent the CS photographs of two of the weapons that appeared to be revolvers
      in a text message that CS showed SA Mims. After reviewing the photos, SA Mims was
      able to determine that the guns fit the description of firearms stolen from Eagles Nest
      Armory on April 28, 2020.

  13. On May 6, 2020, ATF Task Force Officer (TFO) Dustin Smith and ATF SA Larry Mims
      met with CS, and confirmed that he/she could possibly purchase multiple firearms from
      NORBERTO. CS identified the TARGET LOCATION as NORBERTO’s residence, and
      informed law enforcement that one of the firearms that he could purchase from
      NORBERTO was a “Taurus” brand revolver. The CS was also able to learn NORBERTO
      stored the stolen firearms in the air filter compartment under the hood of a green Jeep
      located at the TARGET LOCATION. To confirm the CS’s statement, TFO Smith drove
      past the TARGET LOCATION and observed a green Jeep in the driveway.

  14. Additionally on May 6, 2020, the CS also informed TFO Smith and SA Mims that
      NORBERTO had a nephew named DANIEL ESQUIVEL. The CS described DANIEL as
      a Hispanic male who always carried a loaded firearm. In fact, the CS told law enforcement
      he had personally observed DANIEL in possession of two firearms a few weeks prior and
      a few days prior, he/she had seen DANIEL driving a black Mitsubishi SUV.

  15. On Friday, May 15, 2020, CS contacted SA Mims and informed SA Mims that
      NORBERTO contacted him/her, stating he had two AR-15 type rifles. NORBERTO told
      CS he would hold the AR-15 rifles for the CS to purchase.

                      ATF Undercover Purchase of Stolen Firearms

  16. On May 16, 2020, CS made contact with NORBERTO via cellular phone. NORBERTO
      agreed to meet CS at the TARGET LOCATION in order to sell CS firearms. CS informed
      NORBERTO that he/she would be bringing an associate of his/hers. CS informed


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     NORBERTO that the associate would be the one purchasing the firearms. However, the
     associate CS was referring to was an undercover ATF Agent (UC).

  17. At approximately 3:14 p.m. on May 16, 2020, UC and CS arrived at the TARGET
      LOCATION in an undercover vehicle. The UC and CS walked to the front of the
      TARGET LOCATION where they made contact with NORBERTO, DANIEL and
      individual later identified as NORBERTO’s brother, VICTOR VALDEZ-ESQUIVEL. The
      UC recognized NORBERTO and DANIEL from photographs he had previously obtained
      from a Law Enforcement Database.

  18. After introductions were made, NORBERTO retrieved a set of keys from inside the
      TARGET LOCATION and led UC and CS to a white Chevrolet box Truck bearing
      license plate number BNV333, herein referred to as TARGET VEHICLE. The TARGET
      VEHICLE was parked on the street in front of the TARGET LOCATION. NORBERTO
      proceeded to unlock the pull-up door of the TARGET VEHICLE and retrieved a black
      bag. NORBERTO, UC, and CS, then went over to the trunk of the undercover vehicle, at
      which time NORBERTO removed two rifles from the black bag, a Colt, Model SP1, .223
      Caliber Rifle, with serial number: CMH038055 and a Diamond Back, Model DB15, .300
      Caliber Rifle, with serial number: DB2419687, along with two ammunition magazines.

  19. NORBERTO told the UC that while the Colt, Model SP1, .223 Caliber Rifle, with serial
      number CMH038055 and the Diamond Back, Model DB15, .300 Caliber Rifle, with serial
      number DB2419687, did not have any “heads” on them, the firearms were “hot.” In street
      terminology, this meant that although the firearms were stolen (“hot”), they had not been
      used to kill anyone (“heads”).

  20. VICTOR and DANIEL then joined UC, CS, and NORBERTO. The parties began to
      discuss the firearms, and VICTOR informed UC that one of the rifles used to be his. When
      the UC told VICTOR he would also purchase any other firearms he had, VICTOR let UC
      know that he could obtain a shotgun, and also showed UC a small Ruger pistol that he had
      in his waistband. UC attempted to purchase the pistol from VICTOR, however he refused
      to sell it, stating it was his personal gun. UC then agreed to pay NORBERTO $3000 for
      the two rifles, so long as NORBERTO, DANIEL AND VICTOR, could acquire more
      firearms for UC to purchase.

  21. NORBERTO stated that he could “get them all day” and DANIEL stated “[Y]eah for sure.
      That’s a sure thing.” The Colt, Model SP1, .223 Caliber Rifle, with serial number
      CMH038055; Diamond Back, Model DB15, .300 Caliber Rifle, with serial number
      DB2419687, along with two ammunition magazines, were then placed into the trunk of the
      undercover vehicle and the parties went inside the TARGET LOCATION.

  22. Once inside, VICTOR showed the UC three other pistols that the UC attempted to
      purchase. However, while VICTOR would not sell any of the firearms, he told the UC he
      could acquire more to sell. UC, CS and NORBERTO then stepped outside the
      TARGET LOCATION, where UC paid NORBERTO with $3000 cash, in bills ATF
      Agents had recorded for identification purposes prior to the transaction.


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  23. UC, CS and NORBERTO then went back inside the TARGET LOCATION and
      NORBERTO retrieved a Smith & Wesson 9mm pistol. NORBERTO handed it to UC, and
      the UC offered to buy the firearm. NORBERTO stated that the price of the 9mm pistol was
      $700, however he did not want to sell it at this time because it was his personal gun. During
      that time, VICTOR also approached UC and handed him a revolver. When the UC asked
      VICTOR about the price of the revolver, VICTOR stated that the revolver belonged to
      DANIEL. UC asked DANIEL about the price of the revolver, however, DANIEL refused
      to sell the firearm telling the UC “that’s my bitch.”

  24. Ultimately, NORBERTO offered to sell UC the Smith & Wesson 9mm pistol and another
      revolver for $1200. In doing so, NORBERTO asked UC and CS to come back outside to
      the TARGET VEHICLE with him. Upon arrival, NORBERTO again opened the back of
      the TARGET VEHICLE and retrieved a cardboard box. NORBERTO removed two
      revolvers from the box, one of which was a Taurus, Model M82, .38 Caliber Revolver,
      with serial number: KR234507. Although UC attempted to purchase both revolvers,
      NORBERTO would only sell the Taurus, Model M82, .38 Caliber, Revolver, with serial
      number: KR234507.

  25. The UC agreed to buy the Taurus, Model M82, .38 Caliber Revolver, with serial number:
      KR234507 and the Smith & Wesson 9mm pistol for $1200. The parties then went back
      inside the TARGET LOCATION, where NORBERTO turned over the Taurus and the
      Smith & Wesson, along with two magazines and a magazine holster to the UC. Using the
      same street slang used in their discussion earlier, NORBERTO again indicated to the UC
      that the Taurus, Model M82, .38 Caliber Revolver, with serial number: KR234507 was
      stolen, but otherwise not involved in any killings. Additionally, DANIEL told the UC that
      the Smith & Wesson 9mm was not stolen, specifically telling the UC the gun was “clean”
      and that he had purchased the pistol from his “homie.”

  26. UC, CS and NORBERTO then returned outside where UC paid NORBERTO with $1200
      cash, in bills ATF Agents had recorded for identification purposes prior to the transaction.
      UC informed NORBERTO that he would be in contact with him to purchase more firearms,
      before returning to the undercover vehicle with the CS and departing TARGET
      LOCATION.

  27. Upon further investigation, it was confirmed three of the four firearms purchased from
      NORBERTO, being, the Colt, Model SP1, .223 Caliber Rifle with serial number:
      CMH038055, the Taurus, Model M82, .38 Caliber Revolver, with serial number:
      KR234507, and the Diamond Back, Model DB15, .300 Caliber Rifle, with serial number:
      DB2419687, were stolen from Eagles Nest Armory on April 28, 2020.

  28. In addition, law enforcement was able to confirm that NORBERTO is a convicted felon,
      having been convicted of the Class 4 felony of Assault in Denver County case
      2003CR2976.

  29. Your Affiant consulted with ATF Special Agent Shane Abraham, who is trained and has
      experience in making interstate nexus determinations pertaining to firearms. Special Agent

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       Abraham advised that the Colt, Model SP1, .223 Caliber Rifle with serial number:
       CMH038055, the Taurus, Model M82, .38 Caliber Revolver, with serial number:
       KR234507, and the Diamond Back, Model DB15, .300 Caliber Rifle, with serial number:
       DB2419687, were not manufactured in Colorado, and therefore traveled in, or affected
       interstate, or foreign commerce, prior to being recovered in this investigation.


                                        CONCLUSION

   30. Based upon the above information, your Affiant believes probable cause has been
       established showing the items described in Attachment B, i.e., evidence, fruits, and
       instrumentalities of the offenses of Felon in Possession of a Firearm in violation of 18
       U.S.C. § 922(g)(1), Possession of a Stolen Firearm in violation of 18 U.S.C. § 922(j), Theft
       of a Firearm from a Licensed Dealer in violation of 18 U.S. C. § 924(m), and attempt and/or
       conspiracy to commit those offenses, are located at 6656 Julian Street, Denver, Colorado,
       80221, the TARGET LOCATION, and further described in Attachment A.

   31. Therefore, your Affiant respectfully requests the Court issue a premises search warrant to
       search the residence located at 6656 Julian Street, Denver, Colorado, 80221, more fully
                                                item d ri ed in Attachment B.
       described in Attachment A, to seize the items
                                             s/___________
                                             Larryy A.
                                                    A Bazin

                                             Special Agent, ATF
                                                            19th      May
Sworn to and subscribed by reliable electronic means this      day of     , 2020.


                                             UNITED STATES MAGISTRATE JUDGE
                                             UNITED STATES DISTRICT COURT
                                             DISTRICT OF COLORADO


This affidavit was reviewed and submitted by Thomas Minser, Assistant United States
Attorney.




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